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Attorneys for Defendant
DAYTON ELECTRIC MANUFACTURING CO.
(improperly named as “Dayton Electrical Manufacturing Co.)

                IN THE UNITED STATES DISTRICT COURT

                  FOR THE DISTRICT COURT OF HAWAII

JONATHAN DEWILDE WILLIAMS,              CIVIL NO. 17-00481-KJM
                                        (Non-Motor Vehicle Tort)
                  Plaintiff,
                              STIPULATION FOR DISMISSAL
         vs.                  WITH PREJUDICE OF ALL
                              PLAINTIFF’S CLAIMS AGAINST
COVINGTON ENGINEERING CORP., AND ALL CROSS-CLAIMS BY AND
RIO GRANDE, DAYTON            AGAINST DEFENDANT DAYTON
ELECTRICAL MFG. CO., TEXTILE  ELECTRIC MANUFACTURING CO.
BUFF & WHEEL COMPANY, INC.,
JOHN DOES 1-5, JOHN DOE
CORPORATIONS 1-5, JOHN DOE
PARTNERSHIPS 1-5, ROE NON-    Trial Date: May 21, 2019
PROFIT ORGANIZATIONS 1-5, AND Trial Judge:
ROE GOVERNMENT AGENCIES 1-5, The Honorable Kenneth J. Mansfield

                  Defendants.
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   STIPULATION FOR DISMISSAL WITH PREJUDICE OF ALL PLAINTIFF’S
      CLAIMS AGAINST AND ALL CROSS-CLAIMS BY AND AGAINST
        DEFENDANT DAYTON ELECTRIC MANUFACTURING CO.

              IT IS HERBY STIPULATED AND AGREED, by and between counsel for

Plaintiff JONATHAN DEWILDE WILLIAMS (“Plaintiff”) and Defendant DAYTON

ELECTRIC MANUFACTURING CO. (improperly named as “Dayton Electrical

Manufacturing Co.) (“Defendant Dayton”), pursuant to Rules 41(a)(1)(A)(ii) and 41(c)

of the Federal Rules of Civil Procedure, that any and all claims contained in Plaintiff’s

Complaint filed on July 5, 2017 against Defendant Dayton are hereby dismissed with

prejudice, each party to bear his or its own costs and attorney’s fees.

              IT IS FURTHER STIPULATED AND AGREED by and between counsel

for Defendant Dayton, Defendant COVINGTON ENGINEERING CORP., Defendant

RIO GRANDE, and Defendant TEXTILE BUFF & WHEEL COMPANY, INC., that

any and all cross-claims by and against Defendant Dayton are dismissed with prejudice,

each party to bear its own costs and attorney’s fees.

              There are no remaining claims against Defendant Dayton. Defendant

Dayton further hereby withdraws its currently pending Motion for Summary Judgment

filed December 19, 2018, upon entry of this stipulation for dismissal with prejudice. All

counsel for appearing parties have signed this Stipulation for Dismissal with Prejudice of

Plaintiff’s claims against and all cross-claims by and against Defendant Dayton.

              All claims asserted by Plaintiff against Defendant COVINGTON

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ENGINEERING CORP., Defendant RIO GRANDE, or Defendant TEXTILE BUFF

& WHEEL COMPANY, INC., pertaining to Plaintiff shall remain in this case. All

cross-claims between Defendant COVINGTON ENGINEERING CORP., Defendant

RIO GRANDE, and Defendant TEXTILE BUFF & WHEEL COMPANY, INC. in

this matter shall remain in this case.

              DATED: Honolulu, Hawaii,          January 24, 2019          .



                                          /s/ James Krueger
                                         JAMES KRUEGER
                                         Attorney for Plaintiff
                                         JONATHAN DEWILDE WILLIAMS



                                          /s/ Gary S. Miyamoto
                                         GARY S. MIYAMOTO
                                         Attorney for Defendant
                                         COVINGTON ENGINEERING CORP.



                                          /s/ Barbara J. Kirschenbaum
                                         CHAD P. LOVE
                                         BARBARA J. KIRSCHENBAUM
                                         Attorneys for Defendant
                                         RIO GRANDE


                                          /s/ J. Patrick Gallagher
                                         J. PATRICK GALLAGHER
                                         KAMALOLO K. KOANUI-KONG
                                         Attorneys for Defendant
                                         TEXTILE BUFF & WHEEL COMPANY, INC.
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                                     /s/ Wesley H.H. Ching
                                    WESLEY H.H. CHING
                                    NICHOLAS P. CHING
                                    Attorneys for Defendant
                                    DAYTON ELECTRIC MANUFACTURING
                                    CO. (improperly named as “Dayton Electrical
                                    Manufacturing Co.)


            APPROVED AND SO ORDERED:

            DATED: Honolulu, Hawaii, January 25, 2019.




                                         Kenneth J. Mansfield
                                         United States Magistrate Judge



__________________________________________________________________
STIPULATION FOR DISMISSAL WITH PREJUDICE OF ALL PLAINTIFF’S
CLAIMS AGAINST AND ALL CROSS-CLAIMS BY AND AGAINST
DEFENDANT DAYTON ELECTRIC MANUFACTURING CO.

Jonathan Dewilde Williams v. Covington Engineering Corp., et al., CIVIL NO. 17-
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